
PER CURIAM.
We affirm the trial court’s denial of appellant’s rule 3.800(a) motion alleging that he was improperly sentenced in absentia while incarcerated on unrelated charges, without prejudice to his filing a timely rule 8.850 motion in proper form, in light of Zuluaga v. State, 793 So.2d 60 (Fla. 4th DCA 2001) (claims of improper sentencing in absentia are properly raised in a rule 3.850 motion). We do not have a sufficient record to determine whether, if appellant does file a rule 3.850 motion, it would be successive under rule 3.850(f), and this opinion should not be construed as deciding that issue.
POLEN, SHAHOOD and GROSS, JJ., concur.
